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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


 KIMONLYN MINOR                                         CASE NO. 6:21-CV-04036

 VERSUS                                                 JUDGE ROBERT R. SUMMERHAYS

 LOUISIANA STATE UNIVERSITY AT                          MAGISTRATE JUDGE PATRICK J.
 EUNICE ET AL                                           HANNA


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